                     Case 14-36193 Document 19 Filed in TXSB on 01/13/15 Page 1 of 2
                                        IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION

      In Re: Edward Wayne Rene                                                                                    Case No: 14-36193-H5-13
              Debtor(s)


                         TRUSTEE'S MOTION TO DISMISS OR CONVERT TO A CHAPTER 7

      THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE
      THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE
      THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
      RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
      RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE
      MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
      TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU.
      IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
      ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
      CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE
      HEARING. If a response is filed, a hearing on this motion will be held at 9:30 am on Tuesday, February 17,
      2015 at the U.S. Courthouse, 515 Rusk, Courtroom # 403.

      REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

          COMES NOW, William E. Heitkamp, Chapter 13 Trustee filing this MOTION TO DISMISS, and would
      show the Court that the above-referenced case should be dismissed for the following:

      1.   Payments due Pursuant to 11 U. S. C. 1326 (A) (1), and 1325 (A) (2) have not been made. All payments to the Chapter
           13 Trustee must be sent to the following address: P.O. Box 740 Memphis, TN 38101-0740.


      2.   The Debtors failed to appear for the meeting of creditors; this constitutes a failure to appear in proper prosecution
           of the case for purposes of subsequent eligibility under 11 U.S.C. Sec. 109.

      3.   The debtor has failed to file or provide all of the information required under 11 U.S.C. Sec. 521(a),(b),(e),(f) and
           (h), and BLR 1017(a)(4) Specifically, the debtor has failed to file or provide the following:



                 ·   A creditor mailing list in the format prescribed by the clerk.
                 ·   A completed Schedule of Assets and Liabilities on the official form.
                 ·   A schedule of current income and current expenditures.
                 ·   A Statement of Financial Affairs on the official form.
                 ·   Copies of payment advices required by 11 U.S.C. Sec. 521(a)(1)(iv).
                 ·   Completed form B22C, as required by 11 U.S.C. Sec. 521(a)(1)(v).
                 ·   Copies of tax returns required by 11 U.S.C. Sec. 521(e)(2), or (f).




RDP                                                                                                                                   Page 1 of 2
                    Case 14-36193 Document 19 Filed in TXSB on 01/13/15 Page 2 of 2
          Wherefore, the Trustee prays that the case be dismissed, or converted to Chapter 7, whichever shall be determined to
        be in the creditors’ best interest.

                                                                           RESPECTFULLY SUBMITTED,

                                                                            /s/ William E. Heitkamp
                                                                           WILLIAM E. HEITKAMP, TRUSTEE
                                                                           ADMISSIONS ID NO. 3857
                                                                           ADDRESS FOR CORRESPONDENCE ONLY:
                                                                           9821 KATY FREEWAY, SUITE 590
                                                                           HOUSTON, TX 77024
                                                                           (713) 722-1200 TELEPHONE
                                                                           (713) 722-1211 FACSIMILE
                                                                           ADDRESS FOR PAYMENTS ONLY:
                                                                           P.O. BOX 740
                                                                           MEMPHIS, TN 38101-0740




                                                   CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was sent to all parties listed on the matrix

      on file with the U.S. Bankruptcy Clerk’s Office on or about the time this document was electronically filed with

      the Clerk on 1/13/2015. A copy of the Certificate of Mailing of this document is on file and may be viewed at

      the U.S. Bankruptcy Clerk’s Office.




      Electronically signed by
      /s/ William E. Heitkamp
      William E. Heitkamp, Chapter 13 Trustee




RDP                                                                                                                         Page 2 of 2
